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AO 91 (Rev 8/01) — Criminal Complaint

United States District Court

SOUTHERN DISTRICT OF TEXAS

MCALLEN DIVISION

United States District Cour
Southern District Of Texas.

 

UNITED STATES OF AMERICA FILED
V.
” MAY 22 2019 CRIMINAL COMPLAINT
Jose Antonio Flores-Lopez
David J. Bradley, Clerk CaseNumber: M-19-\|@3 -M

IAE YOB: 1996
Mexico ‘
(Name and Address of Defendant)

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my
knowledge and belief. On or about May 21, 2019 _ in Hidalgo County, in

the Southern District of Texas.
(Track Statutory Language of Offense)

being then and there an alien who had previously been deported from the United States to Mexico in pursuance of law, and thereafter
was found near Mission, Texas, within the Southern District of Texas, the Attorney General of the United States and/or the Secretary
of Homeland Security, not theretofore having consented to a reapplication by the defendant for admission into the United States;

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in violation of Title 8 United States Code, Section(s) 1326 (Felony)

I further state that I am a(n) Border Patrol Agent and that this complaint is based on the
following facts:

Jose Antonio Flores-Lopez was encountered by Border Patrol Agents near Mission, Texas on May 21, 2019. The investigating agent
established that the Defendant was an undocumented alien and requested record checks. The Defendant claims to have illegally entered
the United States on May 21, 2019, near Hidalgo, Texas. Record checks revealed the Defendant was formally Deported/Excluded from
the United States on to October 29, 2017 through Hidalgo, Texas. Prior to Deportation/Exclusion the Defendant was instructed not to
return to the United States without permission from the U.S. Attorney General and/or the Secretary of Homeland Security. On

September 22, 2017, the defendant was convicted of 8 USC 1326, Being found in the U.S. after previous deportation and sentenced to
seven (7) months confinement. ,

Approved by AusA SD! PiAI2A slezliq 3.32 pm

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Continued on the attached shept and made a part of this complaint: [ ves

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Sworn to before me and subscribed in my presence,

May 22, 2019 Kellen Meagior

Signature o!

Border Patrol Agent

J. Scott Hacker , U.S. Magistrate Judge Li —
igna: pe Officer

Name and Title of Judicial Officer (7

 
